               Case 2:16-cr-00052-GMN-CWH                    Document 30         Filed 03/02/16        Page 1 of 1

AO 470 (Rev. 01/09) Order Scheduling a Detention Hearing



                                     UNITED STATES DISTRICT COURT
                                                                for the
                                                           District of Nevada

                  United States of America                         )
                             v.                                    )      Case No. 2:16-cr-052-GMN-PAL
                                                                   )
                     ANTOINE EVANS                                 )
                            Defendant                              )

                                        ORDER SCHEDULING A DETENTION HEARING


          A detention hearing in this case is scheduled as follows:

          U.S. DISTRICT COURT
Place:                                                                    Courtroom No.:      3C
          333 LAS VEGAS BLVD. SOUTH
          LAS VEGAS, NV 89101                                                                 Friday, March 4, 2106
                                                                                                               2016
                                                                          Date and Time:
                                                                                              3:00 PM

        IT IS ORDERED: Pending the hearing, the defendant is to be detained in the custody of the United States
marshal or any other authorized officer. The custodian must bring the defendant to the hearing at the time, date, and
place set forth above.




Date:        March 1, 2016
                                                                                             Judge’s
                                                                                             Judg
                                                                                               d e’s signature
                                                                                                     signnat
                                                                                                          ature


                                                                          C. W. HOFFMAN,
                                                                                 OFFMAN JR.,
                                                                                         JR U.S.
                                                                                             U S MAGISTRATE JUDGE
                                                                                                            JUDG
                                                                                           Printed name and title
